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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,
                                                    No. 02 CR 719-16
         v.
                                                    Judge Thomas M. Durkin
 STEVE LISCANO



                      MEMORANDUM OPINION AND ORDER

         In 2003, Steve Liscano was convicted of conspiring to distribute cocaine. He

was sentenced to life imprisonment because he had two previous felony drug

convictions. Liscano’s appeal was denied, and he unsuccessfully petitioned for habeas

relief. Liscano now moves for compassionate release pursuant to the First Step Act,

18 U.S.C. § 3582(c)(1)(A). For the reasons that follow, the Court grants Liscano’s

motion and reduces his life sentence to time served.

                                     Background

I.       Liscano’s Relevant Convictions and Sentencing

         Three strikes and you’re out. That’s the rule in baseball, but it was also the

rule on the books when Steve Liscano was sentenced to life imprisonment in 2005 for

conspiring to distribute cocaine. Before receiving his life sentence, Liscano had been

twice convicted under Illinois law for possessing cocaine. Those two felony drug

convictions, combined with his third drug conviction stemming from the conspiracy,

required the sentencing judge to impose a term of imprisonment no less than life

behind bars.
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      The first conviction came just after Liscano’s 18th birthday in 1995 when he

was caught with a baggie of cocaine in his pocket. R. 748 ¶¶ 310-315. He received a

two-year prison sentence but was paroled after serving four months. Id. ¶¶ 310-311.

The second conviction occurred five years later. Id. ¶¶ 385-386. Authorities searched

his home and found a residual amount of cocaine—.9 grams to be exact. Id. ¶¶ 390-

392; R. 736-1 at 6; R. 736-16 at 23. Liscano was sentenced to 1.5 years in prison, but

he was again paroled after three months. R. 748 ¶¶ 385-386.

      Then came the third conviction. In 2002, Liscano and about a dozen others

were indicted in the Northern District of Illinois with knowingly participating in a

conspiracy to distribute and possess with intent to distribute in excess of five

kilograms of cocaine, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846. See R. 131-1.

The main conspirator was Juan Corral, whose incriminating phone calls with others

(including Liscano) were recorded by the government. See United States v.

Bustamante, 493 F.3d 879, 882 (7th Cir. 2007). Corral pled guilty and agreed to testify

against his co-conspirators, while Liscano exercised his constitutional right to trial.

Id. The evidence consisted primarily of Corral’s testimony and the recorded phone

calls, and specifically showed that Corral supplied Liscano cocaine over a 10-month

period, that Liscano tipped-off Corral to the presence of police near his home, and

that Liscano warned Corral of a possible raid. Id. Liscano and Corral also had other

conversations about drug operations. Id. After considering this evidence, the jury

found Liscano guilty in 2003.




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      Sentencing followed. Several hearings were held and the sentencing judge

limited Liscano’s role in the conspiracy to 12 to 13 kilograms of cocaine, which

combined with his criminal history category of VI, resulted in an applicable guideline

range of 210 to 262 months’ imprisonment. 1 R. 736-18 at 118:6-20. But a sentence

within that range is not what Liscano received. Instead, the judge was required by

statute to impose a mandatory minimum sentence of life imprisonment. Indeed,

before trial, the prosecutor assigned to Liscano’s criminal case filed an information

under 21 U.S.C. § 851 indicating the government’s intent to seek an enhanced

sentence based on Liscano’s prior drug convictions. See R. 281. While the notice did

not explicitly state that the enhanced sentence would be life imprisonment, Liscano

was federally convicted under 21 U.S.C. § 841, which at the time required a

mandatory minimum sentence of life for a defendant who had two or more prior

convictions for a “felony drug offense.” See 21 U.S.C. § 841(b)(1)(A) (2005). A “felony

drug offense” is an offense that is “punishable by imprisonment for more than one

year” under any state or federal law that “prohibits or restricts conduct relating to

narcotic drugs.” See 21 U.S.C. § 802(44). This definition casts a wide net, and since

Liscano’s predicate offenses fell within its reach—even though the first offense

involved a baggy of cocaine and the second mere residue—the sentencing judge’s

hands were tied. He had to impose a life sentence. Expressing some hesitation to do

so, the judge remarked that Liscano’s predicate offenses were “not what I would



1 Judge James F. Holderman presided over Liscano’s criminal trial and sentencing,

as well as Liscano’s post-conviction petition filed under 28 U.S.C. § 2255. The case
was reassigned to the undersigned judge in 2013. See R. 700.
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consider to be extremely aggravated offenses of involvement with controlled

substances. Unfortunately, that is not the criterion.” R. 736-16 at 38:21-22.

II.   Subsequent Appeals

      Liscano appealed his conviction and sentence, both of which the Seventh

Circuit affirmed in 2007. See Bustamante, 493 F.3d at 879. He then collaterally

attacked his sentence under 28 U.S.C. § 2255, arguing ineffective assistance of

counsel. He was not represented by an attorney in that proceeding. The district court

denied the motion, see Liscano v. United States, 2011 WL 2938103, at *1 (N.D. Ill.

July 18, 2011), and the Seventh Circuit denied a request for a certificate of

appealability.

      A few years later, Liscano filed in the District Court for the Central District of

Illinois a petition for a writ of habeas corpus under 28 U.S.C. § 2241. Proceeding pro

se again, Liscano contended that his baggy conviction should not have counted as a

predicate offense at sentencing in light of Mathis v. United States, 136 S. Ct. 2243

(2016), where the Supreme Court held that Iowa’s burglary statute does not establish

a form of generic burglary and therefore does not support a sentencing enhancement

under the Armed Career Criminal Act, 18 U.S.C. § 924(e)(2)(B)(ii). Liscano argued

that Mathis rendered his prior drug convictions categorically broader than the

definition of “felony drug offense” in 21 U.S.C. § 802(44).

      The district court denied the petition, holding that § 2255(e) barred Liscano

from seeking relief under § 2241. See Liscano v. Kallis, 2019 WL 8333551 (C.D. Ill.

Feb. 5, 2019). More specifically, the court explained that federal prisoners who



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collaterally attack their conviction or sentence generally proceed by way of motion

under § 2255. Id. at *2. Liscano may petition under § 2241, the court continued, but

only under limited circumstances—that is, if the remedy available to him under §

2255 was “inadequate or ineffective to test the legality of his detention.” Id. (citing 28

U.S.C. § 2255(e)). This rarely occurs, as Liscano would be required to show at a

minimum (1) that Mathis created a new rule that applies retroactively to cases on

collateral review, and (2) that he could not have invoked a Mathis-type argument in

his earlier proceedings. Id. at *2-3. In the district court’s opinion, Liscano could not

meet this heavy burden. Id. at *2.

      An appeal followed but this time Liscano was represented by counsel. The

government opposed Liscano’s appeal and defended the district court’s decision.

However, the government expressly stated in its appellate brief that “it does not

contest Liscano’s argument that the sentencing court erred in imposing a mandatory

life sentence.” Liscano v. Entzel, No. 19-1531 (7th Cir.), Appellee’s Brief at 11. That

error, according to the government, was insufficient by itself to justify relief under §

2255. Id. The Seventh Circuit affirmed the district court’s judgment in March 2021;

its unpublished order did not address the government’s belief that Liscano’s sentence

was erroneously imposed. See Liscano v. Entzel, 839 F. App’x 15, 16 (7th Cir. 2021).

      Liscano filed his motion for compassionate release soon thereafter. He is 44

years-old and has served around 226 months (18 years) of his life sentence.




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                                      Standard

         Under the First Step Act, 18 U.S.C. § 3582(c)(1)(A)(i), a court may modify a

term of imprisonment upon a motion of the defendant “after the defendant has fully

exhausted all administrative rights to appeal” and 30 days have passed without the

Bureau of Prisons filing a motion on the defendant’s behalf. In determining whether

a sentence reduction under § 3582 is appropriate, courts consider: (1) whether

“extraordinary and compelling reasons” warrant a reduction; and (2) whether a

reduction is consistent with the factors set forth in 18 U.S.C. § 3553(a). See 18 U.S.C.

§ 3582(c)(1)(A)(i); United States v. Thacker, 4 F.4th 569, 576 (7th Cir. 2021)

(explaining the two-step process for reviewing compassionate release motions);

United States v. Gunn, 980 F.3d 1178, 1179 (7th Cir. 2020).

                                      Discussion

         The parties do not dispute that Liscano has met the statutory exhaustion

requirement, so the Court turns to whether he has established extraordinary and

compelling reasons warranting a reduction of his sentence and if that reduction is

consistent with the sentencing factors in 18 U.S.C. § 3553(a).

I.       Extraordinary and Compelling Reasons

         Liscano must first show that his case presents “extraordinary and compelling

reasons [that] warrant ... a reduction” in his prison sentence. 18 U.S.C. §

3582(c)(1)(A)(i). Before Gunn, the Court’s determination of extraordinary and

compelling reasons was controlled by the Policy Statement articulated in U.S.S.G. §

1B1.13, whose Application Notes include four explicitly defined considerations—



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serious medical reasons, age, family circumstances, and the Director of the Bureau of

Prisons’ determination that an extraordinary and compelling reason exists. See

U.S.S.G. § 1B1.13 n.1(A)-(D). In Gunn, however, the Seventh Circuit held that the

Policy Statement “addresses motions and determinations of the Director, not motions

by prisoners,” and that without an updated statement from the U.S. Sentencing

Commission, the Policy Statement and its Application Notes simply provide a

“working definition” of extraordinary and compelling circumstances. 980 F.3d at

1180. The Seventh Circuit nevertheless cautioned that “a judge who strikes off on a

different path risks an appellate holding that judicial discretion has been abused.”

Id.

      Against this backdrop, the Court must determine whether the circumstances

here qualify as “extraordinary and compelling reasons,” as those words are commonly

used. See United States v. Melvin, 948 F.3d 848, 852 (7th Cir. 2020) (“Unless words

[in a statute] are otherwise defined, they will be interpreted as taking their ordinary,

contemporary, common meaning.”) (quotation marks omitted). “Extraordinary”

means “beyond what is usual, customary, regular, or customary.” Extraordinary,

Merriam-Webster        (def.    1),     https://www.merriam-webster.com/dictionary/

extraordinary; see also United States v. Rollins, 2021 WL 1020998, at *3 (N.D. Ill.

Mar. 17, 2021) (applying same definition). Motions for compassionate release are

rarely granted, but some courts have found an inmate’s particular health conditions

in light of COVID-19 to be extraordinary. See, e.g., United States v. Hall, 2021 WL

873061 (N.D. Ill. Mar. 8, 2021). Other courts have found the “inherent unfairness and



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injustice” of a particular sentence extraordinary. See United States v. Conley, 2021

WL 825669, at *4 (N.D. Ill. Mar. 4, 2021) (reducing sentence of defendant who was

prosecuted and convicted as the result of a disreputable sting operation); United

States v. White, 2021 WL 3418854, at *3 (N.D. Ill. Aug. 5, 2021) (same). Another court

has found the “sheer and unusual length” of a sentence extraordinary. See Rollins,

2021 WL 1020998, at *4-5 (“[I]n a quantitative sense, [defendant’s] sentence was a

highly uncommon one.”). And several courts have concluded that a defendant’s

rehabilitation efforts while in prison can be extraordinary as long as those efforts are

combined with other mitigating factors. See, e.g., id. at *5-6; see also U.S.S.G. §

1B1.13 cmt. n. 3 (explaining that “rehabilitation of the defendant is not, by itself, an

extraordinary and compelling reason for purposes of this policy statement”)

(emphasis added).

      Liscano argues that an extraordinary reason supporting a sentence reduction

exists in this case because the government has made three concessions that bear

directly on his life sentence. For the most part, this Court agrees.

      The first concession relates to the argument Liscano previously advanced in

his § 2241 petition that his baggy conviction should not have counted as a predicate

offense under Mathis v. United States, 136 S. Ct. 2243 (2016). On appeal, and in

response to Liscano’s position, the government conceded that “the sentencing court

erred in imposing a mandatory life sentence.” The government repeats that belief

here, this time incorporating other case law as well.

      “[A]s the defendant correctly notes, neither of the prior convictions relied
      upon by the sentencing court to support defendant’s life sentence qualify

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      as § 841(b) predicates under the Supreme Court’s decision in Mathis v.
      United States, 136 S. Ct. 2243 (2016) [parenthetical omitted] and United
      States v. Ruth, 966 F.3d 642 (7th Cir. 2020) [parenthetical omitted] . . .
      The government concedes that, under Mathis and Ruth, defendant’s life
      sentence was erroneously imposed, and that the record indicates that,
      absent application of § 841(b)(1), the defendant would not have qualified
      for a life sentence, and the district court would not have imposed one.”

R. 746 at 10.

      At first blush, this statement is noticeably more favorable to Liscano than

anything said in the Seventh Circuit’s decision affirming the denial of his § 2241

petition. Indeed, the court did not decide whether Liscano’s prior convictions qualify

as § 841(b) predicates under Mathis and Ruth. Nor did the court find that Liscano’s

life sentence was erroneously imposed. Instead, the Seventh Circuit held that Liscano

could not proceed under § 2241 because he could have previously pursued a Mathis-

type of argument at trial, on direct appeal, or in his collateral attack under § 2255.

See Entzel, 839 F. App’x at 16-17. That is somewhat different than expressly stating,

as the government does here, that Mathis created a defect in Liscano’s sentence. Of

course, whether Liscano can obtain collateral relief under Mathis or Ruth is not the

issue before this Court. The procedural hurdles surrounding that question have

already been litigated, and this opinion makes no attempt to wade into those

disputes. What is important here, however, is that in the context of a life sentence—

which is the most severe, unforgiving sentence a defendant can receive absent

execution—the government has firmly taken the position that under Supreme Court

precedent Liscano’s punishment was wrongly imposed.




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        The government rarely admits that any sentence is legally flawed, though that

reason in and of itself is not why the circumstances are extraordinary here. Rather,

it is the government’s admission concerning Liscano’s life sentence that makes this

situation exceptional. A life sentence is different in kind, and not merely degree, from

nearly all other sentences. It is the end of the road. There is no release date, no light

at the end of the tunnel, no future to consider. Unlike most other sentences, a life

sentence forbids an inmate from ever seeing the other side of a prison wall again. To

put it bluntly, the inmate will die in his cell. While a life sentence may be justified (or

required) in certain situations, it leads to a slow, tortuous demise that makes

rehabilitation and personal development immaterial. In that sense, and as the

Supreme Court has observed, a life sentence is unique as it is the only sentence that

shares some characteristics with a death sentence. See Graham v. Fla., 560 U.S. 48,

69 (2010), as modified (July 6, 2010) (life without parole and death sentences have

characteristics “that are shared by no other sentence” such as “alter[ing] the

offender’s life by a forfeiture that is irrevocable”); see also Harmelin v. Michigan, 501

U.S. 957, 1001 (1991) (Kennedy, J., concurring in part and concurring in judgment)

(life without parole “is the second most severe penalty permitted by law.”).

        Liscano is 44 years-old. Requiring him to remain in prison for the rest of his

life when the government admits that his sentence is flawed produces, quite simply,

an intolerable result. 2 That is especially so considering the nature of his predicate



2 The life expectancy of a 44-year-old male is 35.16 years. See Social Security
Administration     Actuarial    Life    Table    for    2019    (available    at
https://www.ssa.gov/oact/STATS/table4c6.html). Even assuming the figure is lower
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offenses. Both involved possession of small amounts of cocaine as a young adult, both

were unrelated to violence, and both resulted in no more than a few months spent in

prison. In the sentencing judge’s own words, they were not “extremely aggravating

offenses.” And yet, they were both responsible for catapulting Liscano’s sentence into

a lifetime of punishment. Viewed in this light, the government’s admission that

Liscano’s predicates no longer support his sentence makes this case extraordinary.

      The second government concession raised in Liscano’s motion concerns the

notice filed by the government before trial disclosing its intent to seek an enhanced

penalty at sentencing. By way of background, that notice was filed pursuant to 28

U.S.C. § 851, which sets forth the procedural requirements the government must

follow in pursuing heightened penalties based on predicate offenses. See United

States v. Lopez, 907 F.3d 537, 546 (7th Cir. 2018) (“To impose the statutory

enhancement under § 841, the government must follow the procedures in 21 U.S.C. §

851.”) (citation and quotation marks omitted). Section 851(a)(1) specifically requires

the government to state “in writing the previous convictions to be relied upon” at

sentencing, while Section 851(b) provides the defendant an opportunity to affirm or

deny those convictions. Several courts have criticized federal prosecutors in other

districts for applying what has been described as a “stunningly arbitrary” approach

in seeking § 851 enhancements. See United States v. Young, 960 F. Supp. 2d 881 (N.D.

Iowa 2013) (analyzing data and finding disparities in the use of § 851 enhancements);




for an incarcerated person, Liscano can reasonably expect to live for another 30 years
in prison.
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United States v. Kupa, 976 F. Supp. 2d 417, 420 (E.D.N.Y. 2013) (“[Section 851

notices] don’t just tinker with sentencing outcomes; by doubling mandatory

minimums and sometimes mandating life in prison, they produce the sentencing

equivalent of a two-by-four to the forehead.”). The United States Sentencing

Commission similarly concluded just a few years ago that there are significant

disparities in the use of § 851 notices based on geography, race, and whether the

defendant proceeded to trial. See U.S. Sent’g Comm’n, Application and Impact of 21

U.S.C. § 851: Enhanced Penalties for Federal Drug Trafficking Offenders, at 21, 27-

28, 33-34 (July 2018), https://www.ussc.gov/research/research-reports/application-

and-impact-section-851-enhancements.

      In any event, the § 851 notice that the prosecutor filed in Liscano’s criminal

case specified the prior convictions on which an enhanced penalty would be sought,

but did not explicitly state which enhanced penalty Liscano would actually face—

namely, life imprisonment. See R. 281. Liscano accordingly objected to the sufficiency

of the notice at sentencing. See R. 368. After briefing and a hearing on the issue, the

judge found that the notice complied with the minimum requirements under the

statute and was not constitutionally infirm. R. 736-16 at 37:25-38-23. In his motion

for compassionate release, Liscano raises the sufficiency issue again, pointing out

that he told the judge he did not know before sentencing that the government was

pursuing a life sentence against him. R. 736 at 17 (citing R. 736-16 at 15:25-16:5).

      In response, the government correctly states that the sentencing judge already

addressed this issue by denying Liscano’s objection. But the government also states



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that the specific § 851 notice filed against Liscano was not in a form generally used

by prosecutors here in the Northern District of Illinois, and that the inclusion of more

detail—particularly with respect to the life sentence—is a better practice, and the

general practice in this district. R. 746 at 11. While subtle, this admission is

important. Had the notice explicitly stated that the government intended to pursue

an enhanced mandatory minimum sentence of life imprisonment, Liscano could have

digested that information before trial, fully weighed his options, and possibly decided

to plead guilty in hopes of securing a reduced sentence. After all, § 851 notices may

be used as a tool to induce guilty pleas and the Court is not aware of a separate

document presented to Liscano before trial that would have informed him of the

government’s intent to pursue a life sentence. To this point, Liscano expressed some

confusion at sentencing regarding his potential term of imprisonment, telling the

judge he believed after reading a draft of the agreement before trial that “the worst I

would be looking at if they gave me enhancement would be 20 years, not a minimum

of life.” R. 736-16 at 15:25-16:5. And while Liscano’s attorney told the judge that he

had conversations with the prosecutor before trial about a life sentence, the attorney

did not explicitly say whether he relayed that specific information to Liscano. See id.

at 26:10-16. The bottom line is this: while the § 851 notice was sufficient as a matter

of law, the government’s admission years later that the notice should have been more

forthcoming contributes to the extraordinary grounds for relief.

      Liscano contends that a third government concession also warrants a reduced

sentence. Citing the following exchange, Liscano specifically argues that the



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prosecutor admitted at sentencing that the § 851 notice was filed in retaliation

because Liscano exercised his constitutional right to trial instead of pleading guilty.

      THE COURT: Just so we can be clear on this, it was the government’s
      position that if Mr. Liscano did not put the government to its proof, the
      government was not going to seek a Section 851 enhancement since it
      was not mentioned in the draft plea agreement provided to Mr. Liscano?

      PROSECUTOR: When those draft plea agreements were sent out, the
      851 enhancements were not discussed in my office. After the fact when
      we narrowed down the defendants and we were deciding people going to
      trial, that’s when we began discussing the 851 notices and at that point
      we made a decision that if people were to go to trial if they had the
      appropriate prior convictions, we would file the notices.

      THE COURT: So you didn’t consider an 851 enhancement as to any
      defendant until after it became clear that some defendants would go to
      trial and others would plead guilty?

      PROSECUTOR: Correct, I mean yes. We ultimately made a decision
      that if defendants were going to go to trial and they had the appropriate
      prior felony convictions that we then would file the 851 notice.

R. 736 at 7 (citing R. 736-16 at 36:19-37:12).

      The government argues in response that the law allows a prosecutor to grant

concessions to obtain a guilty plea and that a defendant who rejects such concessions

is not subject to an unconstitutional tax. 3 The government also admits that it would




3 The government also points to the following exchange, which occurred immediately

after the above-quoted conversation between the court and the prosecutor. “The
Court: Whereas if a defendant did not go to trial, then you wouldn't file the 851
enhancement? Prosecutor: If they pled guilty, correct, yes, that’s correct. The
Court: Isn’t it really the other way around, that you would not consider the 851
enhancement as to any defendant who did not put the government to its burden, but
as to all defendants you would consider the 851 enhancement unless the defendant
did not put the government to its burden? Prosecutor: Yes.” R. 736-16 at 37:17-22.

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not seek an enhanced sentence today regardless of whether Liscano exercised his

right to trial or pled guilty. R. 746 at 12.

       While the sentencing transcript is revealing, it’s also true that prosecutors

have broad discretion in determining when to prosecute, which charges to bring, and

what sentences to recommend. See United States v. Scott, 631 F.3d 401, 407 (7th Cir.

2011) (“[O]ur case law embodies the long-settled principle that we safeguard

prosecutorial discretion by shielding it from judicial review that either forces the

prosecutor to act in a prescribed manner or penalizes the prosecutor for acting in his

preferred manner.”). Ultimately, the Court need not determine whether the

prosecutor retaliated against Liscano because the first two government concessions

are enough to show that extraordinary reasons exist in this case.

       Indeed, Liscano continues to face the crushing penalty of life in prison even as

the government now admits that his sentence—which it proactively sought through

the § 851 notice—was erroneously imposed under Mathis. The government also

admits that the notice should have informed Liscano of the actual enhancement

sought, and that the version of the notice used by the prosecutor was inconsistent

with the government’s own practices here in the Northern District. Adding to this

injustice is that Liscano was among the least culpable members of the eleven-person

conspiracy, and yet he was the only member to receive an above-guideline sentence

and is only one of two still incarcerated to this day. See R. 749. Almost all other

members of the conspiracy were released years ago. Id.




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      The government argues that neither of its concessions, considered individually

or in combination, constitute an extraordinary reason warranting a sentence

reduction. According to the government, Liscano’s challenges are not individualized

because he relies on grounds applicable to a broad class of offenders sentenced to

enhanced penalties based on prior convictions later determined not to qualify as

predicates under § 841(b). The government further argues that changes in the law

occur with some frequency, and points out that the Seventh Circuit recently held that

non-retroactive changes to a statute cannot establish an extraordinary and

compelling reason for release under § 3582(c)(1)(A)(i). See United States v. Thacker,

4 F.4th 569, 574 (7th Cir. 2021) (“[T]here is nothing ‘extraordinary’ about leaving

untouched the exact penalties that Congress prescribed and that a district court

imposed for particular violations of a statute.”).

      The government is largely correct. Changes in the law do occur with some

frequency, and there are other defendants whose sentences were enhanced based on

prior convictions that no longer qualify as predicates under Mathis. 4 But that does

not preclude a finding that Liscano’s particular circumstances are extraordinary.

Unlike the vast majority of criminal defendants, Liscano was sentenced to life

imprisonment. According to the U.S. Sentencing Commission, “life imprisonment




4 The government is also correct that under Thacker non-retroactive changes made

by Congress to a statute cannot supply an extraordinary and compelling reason for a
sentence reduction. However, the Court is not considering the non-retroactive
changes made under the First Step Act to 21 U.S.C. § 841(b)(1)(A) in finding that
extraordinary and compelling reasons exist here. Put differently, this case does not
present the separation-of-powers issue that animated the Thacker decision.
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sentences are rare in the federal criminal justice system” as “[v]irtually all offenders convicted

of a federal crime are released from prison eventually and return to society.” See U.S. Sent’g

Comm’n,     Life   Sentences     in   the    Federal    Criminal     Justice   System     (2015),

https://www.ussc.gov/research/research-publications/life-sentences-federal-criminal-justice-

system. Several data points make this clear. For example, in fiscal year 2005 (the year Liscano

was sentenced), of the 72,000 federal sentences imposed, only 250 or so involved a life

sentence. Id. at 4; U.S. Sent’g Comm’n, 2005 Sourcebook of Federal Sentencing Statistics,

Introduction (2005), https://www.ussc.gov/research/sourcebook/archive/sourcebook-2005.

Similarly, in 2016, the percentage of offenders convicted of an offense carrying a drug

mandatory minimum penalty of life imprisonment was just .4 percent. See U.S. Sent’g

Comm’n, Mandatory Minimum Penalties For Drug Offenses in the Federal Criminal

Justice System, at 23 (2017), https://www.ussc.gov/research/research-reports/mandatory-

minimum-penalties-drug-offenses-federal-system. And based on the latest data available,

federal prisoners who have received a life sentence for any crime account for only 2.7

percent of all prisoners in the entire BOP system. See Federal Bureau of Prisons,

Sentences Imposed, https://www.bop.gov/about/statistics/statistics_inmate_sentences.jsp

(last accessed Sept. 23, 2021). These figures can undoubtedly be construed in several

ways, but none deny the fact that Liscano’s specific situation does not apply to a broad

class of offenders. Life sentences are in a category of their own. Life sentences that

the government admits were erroneously imposed are even more so.

       The Court has served as a federal judge for nearly 9 years, previously was a

criminal defense attorney for 20 years, and before that served as a federal prosecutor



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for more than 13 years, and has never seen a set of facts that resemble those involved

here. Between the predicate offenses involving such minimal amounts of drugs, the

admission that the offenses no longer support a life sentence, and the recognition that

the § 851 notice should have but did not inform Liscano of the government’s intent to

seek a term of life imprisonment, this case—by definition—is “beyond what is usual,

customary, regular, or customary.”

      So, this case is certainly an uncommon one. Yet there’s another factor that

weighs in Liscano’s favor: his rehabilitation efforts in the nearly two decades since

being incarcerated. See United States v. Williams, 2020 WL 6940788, at *4 (N.D. Ill.

Nov. 25, 2020) (considering an inmate’s self-development along with other factors in

determining whether extraordinary reasons exist); United States v. Reyes, 2020 WL

1663129, at *3 (N.D. Ill. Apr. 3, 2020) (same). Liscano has completed hundreds of

hours of education and vocational training, and has received dozens of professional

certificates while in prison. R. 736 at 29-30; R. 736-8; R. 736-9. He has built a skill

set in electrical and carpentry work, and one of his correctional counselors wrote in a

2018 letter of recommendation that his “hard work ethic and positive attitude will

continue to guide him in being a productive citizen in society” where he will be able

to further “use the [skills] he has acquired while being incarcerated.” R. 736-7. A

supervisor likewise wrote in a performance review as recent as March 2021 that

Liscano works “at or above my expectations, does work tasks without being told to do

so, works in a safe manner, and is a positive example to other inmates.” R. 736-11.

The supervisor also noted that prison staff trust Liscano to operate certain electrical



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tools and that he requires “little supervision.” Id. Compared to his early days as a

high school dropout, see R. 748 at 32, Liscano’s rehabilitation efforts show that he is

committed to living a law-abiding life should he be given that chance.

      In sum, Liscano has supplied extraordinary reasons in support of a sentence

reduction. And lest there be any doubt, he has provided a compelling reason too. See

18 U.S.C. § 3582(c)(1)(A)(i) (requiring “extraordinary and compelling” reason to

justify reduction). “Compelling” means “demanding attention,” and a lifetime

sentence that the government now admits is legally flawed has no doubt caught this

Court’s attention. See Compelling, Merriam-Webster (def. 2), https://www.merriam-

webster.com/dictionary/compelling. Liscano has accordingly met his heavy burden

under the first prong of the compassionate release analysis.

II.   Sentencing Factors under 18 U.S.C. § 3553(a)

      The Court turns next to whether a sentence reduction is consistent with the

sentencing factors set forth in 18 U.S.C. § 3553(a) “to the extent that they are

applicable.” 18 U.S.C. § 3582(c)(1)(A); United States v. Saunders, 986 F.3d 1076, 1078

(7th Cir. 2021) (courts have “broad discretion” in weighing § 3553(a) factors). The

factors that are applicable here include: the nature and circumstances of the offense;

defendant’s history and characteristics; the need for the sentence to reflect the

seriousness of the offense, respect for the law, provide just punishment, deter

criminal conduct, and protect the public; and the need to avoid sentencing disparities.

United States v. Dawson, 980 F.3d 1156, 1162 (7th Cir. 2020). The government did




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not address the § 3553(a) factors in its opposition to Liscano’s motion. The Court

nevertheless discusses them in turn.

      Nature and circumstances of the offense. There is no doubt that

conspiring to distribute controlled substances is a serious offense. Liscano was

responsible for 12-13 kilograms of cocaine and the evidence at trial showed that he

tried to help Corral evade police detection. Such aggravating circumstances warrant

a meaningful sentence, and Liscano has already served 18 years in prison. But even

so, and as mentioned above, the Court cannot ignore the fact that Liscano’s actions

related to conspiracy were far less compared to his co-conspirators. To start, Abraham

Estremera and Raphael Pena were both responsible for more than 150 kilograms of

cocaine, and they were both in possession of a firearm when they were arrested.

Bustamante, 493 F.3d at 883-84. Pena also maintained a business ledger to track the

financial activities of the Latin Kings street gang, id. at 884, and testimony suggested

that Estremera was tied to at least one homicide, see R. 736-18 at 69:24-73:25. On top

of that, other members of the conspiracy, including Jose Hernandez and Jose Oliva,

stipulated in their plea agreements that they possessed a firearm as part their Corral-

related activities. See United States v. Hernandez, 02-cr-00719-15, Dkt. 247 at 4 (N.D.

Ill. May 2, 2003); United States v. Oliva, 02-cr-00719-13, Dkt. 245 at 4 (N.D. Ill. May

2, 2003). No similar stipulation or allegation appears in the draft plea agreement that

was presented to Liscano before trial or in his presentence report prepared by the

U.S. Probation Office. See R. 736-3; R. 748. Moreover, the sentencing court, in

deciding Liscano’s § 2255 motion, noted that Corral had previously provided



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testimony suggesting that Liscano: (1) did not work for Corral in “any formal

capacity,” (2) was not aware of Corral’s other customers, (3) did not know where

Corral stored his cocaine, and (4) did not agree to help Corral sell drugs to customers

other than his own. See Liscano, 2011 WL 2938103, at *3-4. Corral also testified that

his drug operation could have continued without Liscano’s assistance. Id. Taken

together, these circumstances show that while Liscano’s crime of conviction was

serious and worthy of punishment, he was neither the most dangerous or culpable

conspirator. The first factor therefore supports a reduction in Liscano’s life sentence.

      Liscano’s history and characteristics. This factor is mixed but ultimately

favors Liscano. On the aggravating side, he had a criminal history category of VI at

the time of sentencing. In addition to the drug crimes that landed him in prison,

Liscano’s criminal record includes burglary, unlawful use of a weapon by a felon, and

driving under the influence. See 748 ¶¶ 342, 369, 410-427. While a criminal history

category of VI is the highest category allowed, the guidelines can be a very imprecise

measure of the seriousness of prior criminal conduct. In hundreds of sentencings the

Court has been involved in as a judge, prosecutor, and defense attorney, there have

been Category VI defendants who are beyond dangerous and Category VI defendants

who are not. Criminal history point calculations vary widely, and different crimes are

often assigned the same number of points. As a Category VI defendant, Liscano was

on the lower end of dangerousness. And importantly, he has made significant strides

since receiving his sentence, which may be considered in assessing his personal

characteristics. See United States v. Shaw, 957 F.3d 734, 741 (7th Cir. 2020) (“[A]



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district court may consider evidence of a defendant’s post-sentencing rehabilitation

when deciding whether to impose a reduced sentence under the First Step Act”)

(citation omitted). As explained, Liscano has completed dozens of educational courses

while incarcerated. In 2009, after completing 350 hours of vocational programs,

Liscano received his certificate of completion for General Carpentry and Residential

Electrical work. R. 736-9 at 6. Continuing that success in 2016, Liscano earned a

certificate for repairing vehicle air conditioning refrigerant and recycling equipment,

and separately earned a certificate of completion for VT Building Trades through

Century College. Id. at 7, 12. He now works full time at the prison. R. 736 at 30. The

Court also takes note of the positive comments that correctional officials have made

about Liscano in recent years. See supra at 18 (citing R. 736-7; R 736-11). Liscano’s

course load and full-time work schedule demonstrate to the Court that he wants a

fresh start in life and is prepared for post-release success, signs of progress that other

courts have found persuasive in reducing a defendant’s sentence. See, e.g., White,

2021 WL 3418854, at *5 (“The steps [Defendant] has taken towards rehabilitation

support release.”). It would have been entirely rational for a defendant slated to die

in prison to take no steps to improve himself for post-release adjustment. Many would

simply say, “what’s the point?” To Liscano’s credit, he has done exactly the opposite.

      Seriousness of the offense, respect for the law, just punishment,

protect the public, and deter future criminal conduct. While this Court

strongly believes that sentences should deter future criminal conduct, requiring

Liscano to spend the remainder of his life in prison is unlikely to have that effect. The



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First Step Act amended the recidivist provision of 21 § 841(b)(1)(A) by reducing the

the mandatory minimum life sentence and narrowing the category of predicate

offenses that trigger enhanced penalties. Under current law, a defendant with two or

more prior convictions for a “serious drug felony” (as opposed to a “felony drug

conviction”) is subject to a mandatory minimum sentence of 25 years—a remarkable

reduction in time compared to the old penalty. More than that, though, the

amendment makes it difficult to see why requiring Liscano to serve the remainder of

his current sentence would generally or specifically deter future criminal conduct

since a life sentence is not even available under that provision of the statute today. 5

       As for seriousness of the offense, respect for the law, and providing just

punishment, Liscano has served around 226 months (18 years) of his sentence—an

amount that is in line with his guidelines range at the time of sentencing (210-262

months). This is not a situation where his time in prison is being reduced after just a

few years. The Court also notes that in 2005—the year Liscano was sentenced—the

average federal sentence for murder was around 19 years. See U.S. Sent’g Comm’n,

2005    Sourcebook     of   Federal     Sentencing     Statistics,   tbl.   13   (2005),

https://www.ussc.gov/research/sourcebook/archive/sourcebook-2005. While Liscano’s

crime was serious, it was far less serious than murder. And as Judge Feinerman




5 While the First Step Act reduced the mandatory minimum life sentence to a 25-year

sentence, a mandatory minimum penalty of life imprisonment is still available under
the statute if a person commits an offense after a serious drug felony conviction has
become final, and death or serious bodily injury was involved. See 21 U.S.C. §
851(b)(1)(A). There are no allegations tying Liscano’s offenses to death or serious
bodily injury.
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correctly observed in reducing a defendant’s 106½-year sentence, “if a 19-year

sentence for murder serves to reflect the seriousness of that offense, to promote

respect for the law, [and] to provide just punishment for the offense,” then an 18-year

sentence does the same for conspiring to distribute cocaine. See Rollins, 2021 WL

1020998, at *7.

        Finally, as to the need to protect the public, Liscano has taken advantage of

the resources and rehabilitative opportunities available to him in prison. His prison

record suggests that he would not pose a danger to the public if released, and any

danger associated with releasing him will be mitigated by the five years of supervised

release that was part of his original sentence. See R. 519 at 2; see also U.S.S.G

§ 1B1.13 (requiring consideration of whether the defendant is a danger to the public).

The five-year period provides Liscano with the means to be successful in his

transition into society while the U.S. Probation Office works to ensure that Liscano

abides by the law and the terms of his release.

        Avoiding unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. This factor

strongly counsels in favor of a sentence reduction. Even though Liscano was less

culpable than other members of the conspiracy with similar guideline ranges, he is

the only member who received an above-guideline sentence. 6 And, he is one of only




6 As stated, Liscano’s range was 210-262 months, and he was sentenced to life
imprisonment. Jose Oliva’s range was 262-327 months, and he was sentenced to 104
months; Jose Aguirre’s range was 188-235 months, and he was sentenced to 94
months; Jose X. Hernandez’s range was 188-235 months, and he was sentenced to 94
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two members who remain incarcerated today. 7 Corral, the conspiracy’s undisputed

ringleader, testified against Liscano and was released from prison many years ago,

as were Miguel Bustamente, David Bustamente, John Gonzalez, Jose X. Hernandez,

Jose Aguirre, and Jose Oliva, many of whom were responsible for greater amounts of

cocaine than Liscano. See R. 749. Viewed this way, Liscano’s lifetime sentence creates

a disparity that is as pronounced as it is unwarranted. See Conley, 2021 WL 825669,

at *5 (reducing sentence because defendant’s sentence was “grossly disproportional”

compared to co-defendants).

      Looking more broadly, Liscano’s sentence is also uniquely excessive compared

to the sentence he would likely receive today. As mentioned, the First Step Act

reduced drug mandatory minimum penalties and limited the range of predicate

offenses that support enhanced sentences under 21 U.S.C. § 841(b)(1)(A). This

statutory change “reflects a substantially different view by Congress about how to

punish violations” of 841(b)(1)(A). United States v. Black, 999 F.3d 1071, 1076 (7th

Cir. 2021) (vacating denial of compassionate release motion because district court




months; and John Gonzalez’s range was 188-235 months, and he was sentenced to
188 months. See R. 749.

7 The other defendant who remains incarcerated is Abraham Estremera, who was

sentenced to life imprisonment. As mentioned, Estremera was responsible for 150
kilograms of cocaine, and the sentencing judge heard testimony tying him to at least
one homicide. See R. 736-18 at 69:24-73:25. Liscano’s original presentence report
contained information stating that Liscano was also tied to a homicide. See R. 736-18
at 64:15-65:12. However, the sentencing judge specifically ordered that information
be stricken from the presentence report because he had “no basis” to believe the
information by a preponderance of the evidence. See id. He did not do the same for
Estremera. See id. at 73:21-25.
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failed to weigh statutory change to 18 U.S.C. § 924(c) when applying the § 3553(a)

factors). Under the now revised and narrower version of the statute, an enhanced

sentence is triggered if the defendant has previously been convicted of a “serious drug

felony,” which is an offense described in 18 U.S.C. 924(e)(2) for which the offender

“(a) served a term of imprisonment of more than 12 months, and (b) the offender’s

release from any term of imprisonment was within 15 years of the commencement of

the instant offense.” 21 U.S.C. § 802(57). The predicate offenses relied on by the

government in Liscano’s case did not involve him serving terms of imprisonment of

more than 12 months; according to his presentence report, Liscano served four

months for his baggy conviction and three months for his residue conviction. See R.

748 ¶¶ 310-311, 385-386. So, if sentenced today, Liscano would likely be subject to a

mandatory minimum sentence of only 10 years, a striking difference from life

imprisonment. See 21 U.S.C. § 841(b)(1)(A) (mandatory minimum sentence of 10

years for non-recidivist offender whose conduct did not result in death or serious

bodily injury).

      Of course, the disparities surrounding Liscano’s sentence do not bear on the

question whether there are “extraordinary and compelling reasons” for a sentence

reduction under § 3582(c)(1)(A)(i). See Thacker, 4 F.4th at 574. But they are

unquestionably relevant under § 3553(a)(6), see id. at 575, and strongly support

Liscano’s motion here. See Rollins, 2021 WL 1020998, at *8.

      Proposed release plan. The Court also considers Liscano’s proposed release plan.

He intends to live with his youngest sister, who owns a home with her husband and has



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prepared an extra bedroom for her brother. This support system is likely to reduce the risk

that Liscano will reoffend upon his release. See United States v. Warner, 792 F.3d 847, 864

(7th Cir. 2015). Liscano also benefits from having a friend, Jose Cazares, who has offered to

help him secure employment in the electrical profession. The most notable piece of Liscano’s

release plan, however, is his relationship with his teenage daughter. Liscano was arrested

at the hospital the day after she was born. He has not held her as a free man since that

fateful day. But despite his sentence, he has continued to be a father figure in her life,

helping her with homework over the phone and sending her drawings and hand-made

pottery. In a recent letter to the Court, Liscano wrote that he wants “to provide safety,

security and stability for [his daughter] and for the children in my community who may be

heading in the wrong direction.” R. 736-12. Inmates facing a lifetime of incarceration are

almost never given a second chance to provide for their children outside the walls of prison.

The Court’s most sincere hope is that, upon release, Liscano continues to care for his

daughter, and that he recognizes the rare opportunity he has been afforded.

       Remaining factors: A few remaining § 3553(a) factors are not as relevant to this

motion as the others just discussed, but they still warrant a brief discussion. For example,

§ 3553(a)(2)(D) considers the need for the sentence “to provide the defendant with needed

educational or vocational training, medical care, or other correctional treatment in the most

effective manner.” As mentioned, Liscano has taken advantage of the resources and

rehabilitative opportunities available to him in prison. Regarding medical care, Liscano’s

medical records do not seem to reflect any conditions that increase his risk of severe illness

from COVID-19 or otherwise counsel in favor of a reduction in his sentence.



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       The seventh factor is “the need to provide restitution to any victims of the

offense.” Id. § 3553(a)(7). Liscano’s sentence did not require him to pay restitution,

but it did impose a fine of $25,000. See R. 519. To the extent Liscano has not yet paid

that fine in full, there is little question that he would be better able to do so outside

of prison, gainfully employed, than if imprisoned for the remainder of his life.


                               *      *      *      *       *


       In the end, Section 3553(a) requires a court, upon considering the various factors, to

impose a sentence that is “sufficient, but not greater than necessary,” to comply with the

purposes of a criminal sentence set forth in § 3553(a)(2). Under the facts of this case, the

Court concludes that Liscano’s life sentence is far greater than necessary and instead finds

that a sentence of 226 months (which equates to time served) is sufficient but no more than

necessary. As mentioned, this reduction means that Liscano’s revised sentence is in line

with his original guidelines range of 210-262 months.

       While this Court is hesitant to interfere with another judge’s initial sentence, the

sentencing judge’s hands were tied in this case, forbidding him to exercise discretion. What

is more, the particular circumstances surrounding Liscano’s term of life imprisonment

justify the relief he now seeks. No one can reasonably argue that Liscano—whose predicate

offenses included possessing a baggy of cocaine at the age of 18 and mere residue a few years

later—deserves the same life sentence as Joaquin “El Chapo” Guzman. In the same way,

no reasonable person can take the position that requiring Liscano to spend the remainder




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of his life incarcerated is a worthy endeavor that will benefit society, keep the public safe, or

advance our notions of justice.

       That said, today’s decision should not be construed as an invitation to open the

floodgates. Relief under Section 3582(c)(1)(A) of the First Step Act is usually unavailable,

reserved only for narrow circumstances. This unique case does not change that fact. Nor

should this decision be interpreted as a critique of the government. Nearly every indication

in the record suggests that the prosecutors on this case have acted in good faith. The short

of the matter is that the circumstances surrounding Liscano’s sentence simply cry out for a

result different than a lifetime behind bars.

                                         Conclusion

       Because Liscano has met his burden of showing that there are “extraordinary and

compelling reasons” supporting a sentence reduction, and because such a reduction is

consistent with the § 3553(a) factors, this Court reduces Liscano’s lifetime sentence to time

served. His motion for compassionate release, R. 736, is accordingly granted. An amended

judgment and commitment order will follow shortly. All other aspects of Liscano’s

sentence remain unchanged, including, most importantly, his five years of supervised

release. The government, defense counsel, and/or the Probation Office are invited to move

the Court to make any appropriate modifications to the conditions of Liscano’s supervised

release.

       This order is stayed for seven days for the verification of Liscano’s residence, to

finalize his release plan, to make appropriate travel arrangements, and to ensure




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Liscano’s safe release. Defense counsel is free to make a request to lift this stay if these

conditions are already addressed.

                                                        ENTERED:


                                                        ______________________________
                                                        Honorable Thomas M. Durkin
                                                        United States District Judge
Dated: September 27, 2021




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